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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

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In re:                                                   : Chapter 11
                                                         :
FTX TRADING LTD., et al., 1                              : Case No. 22-11068 (JTD)
                                                         :
                           Debtors.                      : (Jointly Administered)
                                                         :
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    FOURTH SUPPLEMENTAL DECLARATION OF THOMAS M. SHEA ON BEHALF
                       OF ERNST & YOUNG LLP

         I, Thomas M. Shea, hereby declare pursuant to Rule 2014(a) of the Bankruptcy Rules2 as

follows:

         1.       I am a Principal of EY US LLP. I provide this fourth supplemental declaration (the

“Fourth Supplemental Declaration”) on behalf of EY LLP. This Fourth Supplemental Declaration

supplements my original declaration that was filed with this Court on December 21, 2022 [Docket

Nos. 284-285, 298, 300, 500-1] (the “Initial Declaration”), my first supplemental declaration that

was filed with this Court on January 16, 2023 [Docket No. 499] (the “First Supplemental

Declaration”), my second supplemental declaration that was filed with this Court on April 11, 2023

[Docket No. 1263] (the “Second Supplemental Declaration”), and my third supplemental

declaration that was filed with this Court on January 3, 2024 [Docket No. 5320] (the “Third

Supplemental Declaration” and, together with the Initial Declaration, First Supplemental



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Previous Declarations.

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Declaration, and Second Supplemental Declaration, the “Previous Declarations”).

         2.       The facts set forth in this Fourth Supplemental Declaration are based upon my

personal knowledge, upon information and belief, upon client matter records kept in the ordinary

course of business that were reviewed by me or professionals of EY LLP and EY US LLP or

employees of other member firms of EYGL under my supervision and direction.

         3.       On January 19, 2024, Debtor’s counsel provided EY LLP with an updated Parties

in Interest list. Consistent with the process described in the Initial Declaration, EY LLP caused

the names of the Parties in Interest who were not included in Exhibit B to my Initial Declaration

or who were marked as “no connection” in Exhibit B to my Initial Declaration to be run through

the Database. The disclosure schedule annexed hereto as Schedule 1 lists the names of such

Parties in Interest and whether they are currently engaging, or have engaged during the last three

years, EY LLP or any other EYGL member firm. All Parties in Interest for which a “connection”

was marked in Exhibit B to my Initial Declaration continued to have a “connection” marked in

Schedule 1 to this Fourth Supplemental Declaration.3

         4.       To the best of my knowledge, information and belief based on the information set

forth in the Database, except as otherwise stated in the Previous Declarations, none of the services

rendered to Parties in Interest by EY LLP or any other EYGL member firm have been in

connection with the Debtors or these chapter 11 cases.

         5.       In addition to the Party-Retained Professionals listed in paragraph 26 of the Initial

Declaration, the following Party-Retained Professionals have been identified as Parties in Interest



3
    To date, fifteen EYGL member firms have submitted subcontractor declarations in these chapter 11 cases [Docket
    Nos. 1327, 1328, 1429, 1330, 1428, 1430, 1431, 1432, 1535, 1578, 2141, 2507, 3680, 4114, and 6739]. My
    expectation is that these EYGL member firms will not submit supplemental declarations of disinterestedness
    concerning the updated Parties in Interest list that EY LLP received on January 19, 2024, as those EYGL member
    firms have access to the same Database that EY LLP caused to be reviewed for engagements of Parties in Interest
    by all EYGL member firms.

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that have provided in the past three years and/or are currently providing services to EY LLP: Baker

McKenzie, Binder Grösswang, Debevoise & Plimpton LLP, Grant Thornton, Groom Law Group,

Joele Frank, Kramer Levin Naftalis & Frankel LLP, Simpson Thacher & Bartlett LLP, and

Sullivan & Cromwell LLP.

        6.     Due to a typographical error, paragraph 38 of my Initial Declaration inadvertently

stated that “JPMorgan C” participated in EY LLP and EY US LLP’s Revolving Credit Program.

“JPMorgan C” should have read “JPMorgan Chase, N.A.”

        7.     On April 19, 2024, the Court entered its Order Authorizing and Approving the (I)

Dismissal of the Chapter 11 Cases of the Foreign Wind Down Entities and (II) Equitization of

Release of Certain Intercompany Claims and Making Related Capital Contributions [Docket No.

12260] (the “Dismissal Order”). EY LLP will continue to provide services related to the Foreign

Wind Down Entities to the Debtors in their capacity as shareholders of the Foreign Wind Down

Entities.

        8.     To the best of my knowledge, EY LLP (a) continues not to hold or represent an

interest adverse to the Debtors’ estates, and (b) is and remains a “disinterested person,” as such

term is defined in section 101(14) of the Bankruptcy Code, as required under section 327(a) of the

Bankruptcy Code. Moreover, to the best of my knowledge, information and belief, EY LLP’s

retention is not prohibited or restricted by Bankruptcy Rule 5002.

        Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information and belief.

Dated: May 31, 2024

                                             /s/ Thomas M. Shea
                                             Thomas M. Shea




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